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                EXHIBIT B
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   1       DERSH007550       Exhibit 21 to Virginia Giuffre Deposition (May 3, 2016)                                                   in part             ‫ض‬




   2       DERSH007571       Exhibit 22 to Virginia Giuffre Deposition (May 3, 2016)                                                                       ‫ض‬




   3       DERSH007634       Exhibit 23 to Virginia Giuffre Deposition (May 3, 2016)                                                   in part             ‫ض‬




   4       DERSH007698       Exhibit 24 to Virginia Giuffre Deposition (May 3, 2016)                                                   in part             ‫ض‬




   5       DERSH007736       Exhibit 25 to Virginia Giuffre Deposition (May 3, 2016)                                                                       ‫ض‬




   6       DERSH008452       Condensed Transcript of Virginia Giuffre Deposition (May 3, 2016)                                         in part             ‫ض‬




   7       DERSH008540       Word Index of Virginia Giuffre Deposition (May 3, 2016)                                                                       ‫ض‬



                             Plaintiff's Response and Objections to Defendant's First Set of Discovery Requests to Plaintiff (March
   8       DERSH008580                                                                                                                                     ‫ض‬
                             16, 2016)*


  7KHVH GRFXPHQWV DUH QRQSXEOLF GRFXPHQWV WKDW PD\ RU PD\ QRW FRQWDLQ SURWHFWHG LQIRUPDWLRQ ,Q SURGXFLQJ WKHVH GRFXPHQWV WR 'HIHQGDQW 3ODLQWLII H[FHUSWHG DQG
UHGDFWHG WKHP LQ DFFRUGDQFH ZLWK WKH &RXUW V 6HSWHPEHU  RUGHU ,W LV QRZ DSSDUHQW KRZHYHU WKDW 'HIHQGDQW UHFHLYHG FRPSOHWH FRSLHV IURP 0D[ZHOO V FRXQVHO



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                    Plaintiff's Amended Supplemental Response and Objections to Defendant's First Set of Discovery
 9    DERSH008619                                                                                                                              ‫ض‬
                    Requests to Plaintiff (March 22, 2016)*



                    Plaintiff's Supplemental Response and Objections to Defendant's First Set of Discovery Requests to
10    DERSH008663                                                                                                                              ‫ض‬
                    Plaintiff (March 22, 2016)*


                    Plaintiff's Second Amended Supplemental Response and Objections to Defendant's First Set of
11    DERSH008707                                                                                                                              ‫ض‬
                    Discovery Requests to Plaintiff (April, 29, 2016)*



                    [Unredacted] Defendant's Response to Non-Party Sharon Churcher's Motion to Quash Subpoena (June
12    DERSH009075
                    22, 2016) [Dkt. 246]


                    [Unredacted] Declaration of Laura A. Menninger in Support of Defendant's Response in Opposition to
13    DERSH009096   Non-Party Sharon Churcher's Motion to Quash Subpoena (June 22, 2016)
                    [Dkt. 247]

                    [Unredacted] Exhibits A-D to Declaration of Laura A. Menninger in Support of Defendant's Response
14    DERSH009099   in Opposition to Non-Party Sharon Churcher's Motion to Quash Subpoena (June 22, 2016) [Dkts. 247-
                    1, 247-2, 247-3, 247-4]


                    [Unredacted] Reply Memorandum of Law in Further Support of Non-Party Sharon Churcher's Motion
15    DERSH009190
                    to Quash Subpoena (July 5, 2016) [Dkt. 263]


                    [Unredacted] Plaintiff's Motion to Compel the Production of Documents Subject to Improper Objection
16    DERSH011045
                    and Improper Claim of Privilege (August 9, 2016) [Dkt. 345]




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                    [Unredacted] Declaration of Alan Dershowitz in Support of Motion for Permissive Intervention
17    DERSH011154                                                                                                                                  ‫ض‬
                    (August 11, 2016) [Dkt. 363]



                    [Unredacted] Declaration of Paul G. Cassell in Support of Plaintiff's Opposition to Proposed Intervenor
18    DERSH011765                                                                                                                                  ‫ض‬
                    Alan M. Dershowitz's Motion for Permissive Intervention (August 29, 2016) [Dkt. 408]



19    DERSH011778   [Unredacted] Plaintiff's Response in Opposition to Motion to Intervene (August 29, 2016) [Dkt. 406]                            ‫ض‬



                    [Unredacted] Plaintiff's Declaration of Sigrid McCawley in Support of Plaintiff's Response in
20    DERSH011809                                                                                                                                  ‫ض‬
                    Opposition to Motion to Intervene (August 29, 2016) [Dkt. 407]



21    DERSH012040   Opinion and Order on Non-Party Sharon Churcher's Motion to Quash (September 1, 2016)                                           ‫ض‬



                    Opinion and Order on Non-party Alan M. Dershowitz's Motion to Intervene and Unseal, among others
22    DERSH012881                                                                                                                                  ‫ض‬
                    (November 3, 2016)



                    [Unredacted] Memorandum of Law in Support of Defendant's Motion for Summary Judgment
23    DERSH012992                                                                                                                ‫ض‬                 ‫ض‬
                    (January 6, 2017) [Dkt. 541]



                    Reply Letter in Support of Letter Motion from Sigrid McCawley to Judge Sweet to allow newly-
24    DERSH013130
                    discovered witness to testify at trial (January 30, 2017)




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